

Matter of Cindy M. v Marisol M. (2021 NY Slip Op 06955)





Matter of Cindy M. v Marisol M.


2021 NY Slip Op 06955


Decided on December 14, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 14, 2021

Before: Kern, J.P., Kennedy, Scarpulla, Mendez, Shulman, JJ. 


Docket No. O-10788-20 Appeal No. 14827 Case No. 2021-00899 

[*1]In the Matter of Cindy M., Petitioner-Appellant.
vMarisol M. Respondent-Respondent.


Law Office of Thomas R. Villecco, P.C., Jericho (Thomas R. Villecco of counsel), for appellant.



Appeal from order, Family Court, Bronx County (Leticia M. Ramirez, J.), entered on or about March 2, 2021, which denied petitioner's family offense petition seeking an order of protection, on behalf of her child, Destiney M., against respondent, held in abeyance, the motion by assigned counsel to be relieved denied without prejudice to renew, and counsel directed to communicate with petitioner concerning the instant application for relief and advise that she has 60 days from the date of this order to file a pro se supplemental brief if she so chooses.
Counsel has not submitted a copy of any letter confirming that counsel has furnished petitioner with a copy of the brief filed with this Court and advised her that
she has a right to file a pro se supplemental brief, in accordance with People v Saunders  (52 AD2d 833 [1976]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 14, 2021








